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                                 June 16, 2020, at 9:29 a.m.           Joshua C. Frances

Special Agent Sara B. Albert, Defense Criminal Investigative Service


The COURAGEOUS, a 44-foot Mark-I sailing vessel displaying “44ST8702” on the centerline of its stern.
The vessel has had its mast removed and has been wrapped for protection from the weather/elements.
The vessel was located at Royal River Boat Yard (RRBY), Yarmouth, ME.
The USMS has entered into a contract to store the seized vessel at the RRBY.
Consolidated Asset Tracking Number : 20-DCI-000098.
A copy of the warrant was provided to Joshua C. Frances while he was at his residence in Falmouth, ME.




         June 16, 2020


                                                                  Special Agent Michael L. Ryan, DHS-OIG
